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                           UNITED STATE DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION AT COLUMBUS

CARL GARNER                               )
3555 River Park Drive                     )     Case No.
Lexington, KY 40507                       )
                                          )
       Plaintiff,                         )     Judge:
                                          )
v.                                        )
                                          )
JAGTRUX, INC.                             )
1435 River Road                           )
Marietta, PA 17547                        )
                                          )
&                                         )
                                          )
SHERMAN LEUNG                             )
7 Hetrick Court                           )
Palmyra, PA 17078                         )
                                          )
       Defendants.                        )
_____________________________________________________________________________

            COMPLAINT WITH JURY DEMAND ENDORSED HEREON
______________________________________________________________________________

       The Plaintiff, Carl Garner, for their Complaint against the Defendants, Jagtrux, Inc. and

Sherman Leung, states as follows:

       1.     The Plaintiff, Carl Garner, is residents and citizen of Kentucky, residing at 3555

River Park Drive, Lexington, KY 40507.

       2.     The Defendant, Jagtrux, Inc., is a Pennsylvania corporation and citizen which

transacts business in the State of Ohio, whose President may be served at 1435 River Road,

Marietta, PA 17547.

       3.     The Defendant, Sherman Leung, is a Pennsylvania resident and citizen who

maintains his address at 7 Hetrick Court, Palmyra, PA 17078.
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       4.      Plaintiff and Defendants are citizens of different states and jurisdiction is proper

within this court pursuant to 28 USC § 1332.

       5.      The Plaintiff’s damages are in excess of $75,000.00 and the minimum dollar

amount necessary to establish the diversity jurisdiction of this Court pursuant to 28 USC § 1332.

       6.      On or about August 27, 2021, in Richland Township, Belmont County, Ohio,

Sherman Leung operated a vehicle in a negligent, careless and reckless manner causing it to

collide with a motorcycle occupied by the Plaintiff.

       7.      The collision referred to in the aforementioned Paragraph was the result of the

negligence of Sherman Leung.

       8.      The collision occurred when Sherman Leung failed to pay attention to surrounding

traffic and failed to maintain his lane and forcing the Plaintiff off of the roadway while they were

operating their motorcycle on I-70 with all due care.

       9.      That as a direct and proximate result of the aforementioned collision, Plaintiff

suffered temporary and permanent injuries causing great physical, mental pain, emotional distress

and anguish and the loss of enjoyment of life and will continue to suffer such damage in the

future, the injuries being permanent in nature; that the Plaintiff is subject to increased risk of

future harm; has lost wages and that the ability to earn wages in the future is impaired; that the

Plaintiff has incurred large sums of money for physicians and medical expenses in treatment of

said injuries and will be required to incur large sums of money for physicians and medical

expenses in the future, and injuries being permanent in nature.

       10.     The Plaintiff’s damages are in excess of $75,000.00 and the minimum dollar

amount necessary to establish the jurisdiction of this Court.


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       11.     At all times relevant herein and at the time of the collision described above,

Defendant was driving while in the course and scope of his employment with Defendant, Jagtrux,

Inc.

       12.     Jagtrux, Inc. is vicariously liable for all damages cased by its employee, Sherman

Leung, including the damages detailed in the aforementioned paragraphs.

       13.     Venue is proper in the within court because the auto wreck at issue occurred within

Belmont County, Ohio.

       WHEREFORE, Plaintiff, Carl Garner, demands judgment against Defendants Jagtrux,

Inc. and Sherman Leung, as follows:

       A.      A trial by jury on all issues of fact herein;

       B.      Compensatory damages against the Defendants in a fair and reasonable amount to

be determined by a jury sitting at the trial of this matter, but in an amount sufficient to confer

jurisdiction on this Court;

       C.      For prejudgment interest from the date of the Plaintiff’s injuries until such time the

judgment is paid;

       D.      For Plaintiff’s costs herein expended; and

       E.      For any and all other relief to which the Plaintiff is entitled.

                                          JURY DEMAND

       Plaintiff hereby requests a trial by jury in this action.

       RESPECTFULLY submitted this 16th day of September, 2022.




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                                          /s/Jesse A. Shore
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